ee

Case: 1:01-cv-03772 Document #: 59 Filed: 06/02/03 Page 1 of 1 PagelD #:282

AG 450(Rev. $/85 dudement ina Civil Case

ee —

United States District Court

Northern District of Illinois
Eastern Division

Jacob L, McGovern JUDGMENT IN A CIVIL CASE
V. Case Number: 01 C 3772

Officer J. Pacetti and the Cook County

Sheriff

| Jury Verdict. ‘This action came before the Court fot a trial by jury. The issues have been

tried and the jury rendered its verdict.

LI Decision by Court. This action came to trial or hearing before the Court. The issucs
have been tried or heard and a decision has been rendered,

IT 1S HEREBY ORDERED AND ADJUDGED that the jury finds in favor of defendants
Officer J. Pacetti and the Cook County Sheriff and against the plaintilf Jacob L. McGovern on

all claims.
a>

on i

ys

Michael W. Dobbins, Clerk of Court

Pate: 6/2/2003 __t-¥ |
Fna T. Ventura, Deputy Clerk

57
